Case: 2:13-cr-00083-GCS-TPK Doc #: 104 Filed: 06/12/13 Page: 1 of 2 PAGEID #: 214




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,

               vs.                                          CASE NO.: 2:13-cr-083(5)
                                                            JUDGE SMITH
                                                            MAGISTRATE JUDGE KEMP
JONATHAN C. COOPER,

                       Defendant.


                                            ORDER

       On May 10, 2013, the Magistrate Judge issued a Report and Recommendation pursuant to

28 U.S.C. § 636(b)(1), recommending that the Court accept Defendant Cooper’s guilty plea to Count

Ten of the Indictment charging him with receiving and transferring forged and counterfeited

obligations of the United States, in violation of 18 U.S.C. § 473 and 2. Defendant, represented by

counsel, waived his right to appear on the matter before a District Judge. The Magistrate Judge

conducted the colloquy required by Rule 11 of the Federal Rules of Criminal Procedure.

Defendant’s plea was knowing, voluntary, free from coercion, and had a basis in fact.

       Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
Case: 2:13-cr-00083-GCS-TPK Doc #: 104 Filed: 06/12/13 Page: 2 of 2 PAGEID #: 215




       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to Count Ten of the Indictment. Defendant is hereby adjudged guilty of

receiving and transferring forged and counterfeited obligations of the United States.

               IT IS SO ORDERED.


                                                     /s/ George C. Smith
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT




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